




NO. 07-04-0349-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



SEPTEMBER 21, 2004

______________________________



AMERICAN HOME ASSURANCE COMPANY,



Appellant



v.



EDWARD VAUGHN, 



Appellee



_________________________________



FROM THE 251
st
 DISTRICT COURT OF RANDALL COUNTY;



NO. 52,395-C; HON. PATRICK A. PIRTLE, PRESIDING

_______________________________



ON ABATEMENT AND REMAND

_______________________________



Before QUINN, REAVIS and CAMPBELL, JJ.

American Home Assurance Company appeals from an order on appellee’s application for attorney fees. &nbsp;The clerk’s record was filed on August 3, 2004. &nbsp;The reporter’s record was due on September 2, 2004. &nbsp;On September 10, 2004, a letter was sent to the court reporter requesting a reporter’s status. &nbsp;No response has been received, though due by September 20, 2004. &nbsp;

Accordingly, we abate this appeal and remand the cause to the 251st District Court of Randall County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following:

1. &nbsp;	why the reporter’s record has not been filed; 


when the reporter’s record can reasonably be filed in a manner that does not have the practical effect of depriving the appellant of his right to appeal or delaying the resolution of this appeal. 




The trial court shall cause the hearing to be transcribed. &nbsp;So too shall it 1) execute findings of fact and conclusions of law addressing the foregoing issues, 2) cause to be developed a supplemental clerk’s record containing its findings of fact and conclusions of law and all orders it may issue as a result of its hearing in this matter, and 3) cause to be developed a reporter’s record transcribing the evidence and arguments presented at the aforementioned hearing. &nbsp;Additionally, the district court shall then file the supplemental record and reporter’s record transcribing the hearing with the clerk of this court on or before October 20, 2004. &nbsp;Should further time be needed by the trial court to perform these tasks, then same must be requested before October 20, 2004.

It is so ordered.

Per Curiam

Do not publish.




